
954 So.2d 737 (2007)
T.O., mother of O.H., a minor child, Appellant,
v.
L.S., Appellee.
No. 1D06-3502.
District Court of Appeal of Florida, First District.
April 26, 2007.
Michael Ufferman, Michael Ufferman Law Firm, P.A., Tallahassee, for Appellant.
James C. Banks, Law Office of Banks &amp; Morris, P.A., Tallahassee, for Appellee.
PER CURIAM.
The mother appeals from an order terminating her parental rights. It appears sufficient proof was presented to support a determination that the parental rights of the mother should be terminated. We cannot, however, conduct appropriate appellate review because the statutory factors enumerated in section 39.810, Florida Statutes (2005), are not addressed in either the order or the transcript. We therefore reverse the order terminating parental rights and remand for entry of an order containing the necessary findings of fact. See I.M. v. Florida Dep't Of Health &amp; Rehabilitative Serv., 668 So.2d 275 (Fla. 1st DCA 1996); In Interest of C.M.P., 608 So.2d 568 (Fla. 1st DCA 1992).
BARFIELD and POLSTON, JJ., concur; BENTON, J. concurring, with written opinion.
BENTON, J., concurring.
The trial court found that T.O. had abandoned her child O.H. to the child's grandmother's care, a finding the evidence supports, in my view. But we have made clear that termination of parental rights is not justified even if abandonment is proven, unless the evidence also shows, and the trial court also finds, that termination is in the child's best interests.
Full and accurate fact finding is essential not only on the question whether DCFS has authority to terminate parental rights but also on the question whether it is in the child's best interests to do so. See § 39.809(5), Fla. Stat. (2000); In re L.H., 647 So.2d 311, 311-12 (Fla. 5th DCA 1994); see also In re K.M., 788 So.2d 306, 306 (Fla. 2d DCA 2001) (noting that when at least one of the grounds for termination of parental rights has been established, the "issue then is whether the Department of Children and Families proved by clear and convincing evidence the additional requirement that termination is in the manifest best interests of the children"); L.J.R. v. T.T., 739 So.2d 1283, 1287 (Fla. 1st DCA 1999) (stating that in termination of parental rights proceedings, even when statutory requirements are proven, a trial court still "must determine whether termination of parental rights is in the child's `manifest best interests'").
C.C. v. Dep't of Child. &amp; Fam. Servs., 812 So.2d 520, 523 (Fla. 1st DCA 2002). Accordingly, *738 I agree to "reverse and remand for further consideration." I.M. v. State, Dep't of Health &amp; Rehabilitative Servs., 668 So.2d 275, 275 (Fla. 1st DCA 1996).
